






	







	

NUMBER 13-08-00008-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


____________________________________________________________

										

ROBERT WATSON,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

____________________________________________________________


On appeal from the County Court at Law No. 3


of Nueces County, Texas.


____________________________________________________________


MEMORANDUM OPINION



Before Justices Rodriguez, Garza, and Benavides 


Memorandum Opinion Per Curiam



	Appellant, Robert Watson, by and through his attorney, has filed a motion to dismiss
his appeal because he no longer desires to prosecute it.  See Tex. R. App. P. 42.2(a). 
Without passing on the merits of the case, we grant the motion to dismiss pursuant to
Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal.  Having dismissed the
appeal at appellant's request, no motion for rehearing will be entertained, and our mandate
will issue forthwith.

								PER CURIAM

Do not publish.  See Tex. R. App. P. 47.2(b).  

Memorandum Opinion delivered and 

filed this 19th day of February, 2009.


